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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                         DECISION AND ORDER
                                                                       11-CR-193S (2)

TYREE BISHOP,

                                Defendant.



                                        I. INTRODUCTION

        Defendant Tyree Bishop pled guilty on February 8, 2012, to conspiracy to possess

with intent to distribute, and to distribute, five kilograms or more of cocaine, in violation of

21 U.S.C. § 846.        This Court thereafter sentenced Bishop to, inter alia, a term of

imprisonment of 96 months on May 23, 2012.

        Presently before this Court is the Government’s Motion to Reduce Bishop’s offense

level by 2 levels pursuant to Rule 35(b)(2)(B) of the Federal Rules of Criminal Procedure.1

In support of its motion, the Government has filed the sealed affidavit of Timothy C. Lynch,

Assistant United States Attorney. The affidavit describes the valuable assistance Bishop

has provided in the prosecution of his co-defendants and others.2




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        Bishop has also filed a Motion to Reduce his sentence on other grounds pursuant to 18 U.S.C. §
3582(c)(2). (Docket No. 181.) That motion will be resolved by separate order.
        2
         Consistent with United States v. Gangi, this Court provided Bishop the opportunity to respond to
the Government’s motion (Docket No. 178). 45 F.3d 28, 32 (2d Cir. 1995) (holding that “a defendant must
have an opportunity to respond to the government’s characterization of his post-sentencing cooperation
and to persuade the court of the merits of a reduction in sentence”). Bishop did not file anything in
response.
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       This Court has carefully considered the parties’ submissions and concludes that

Bishop has earned the sentence reduction requested by the Government. Accordingly, the

Government’s motion is granted, and Bishop’s sentence will be reduced from 96 months

to 77 months, based on a 2-level reduction in Bishop’s total offense level.

                           II. DISCUSSION AND ANALYSIS

A.     Rule 35(b): Reducing a Sentence for Substantial Assistance

       Rule 35(b)(1) permits a court, upon the Government’s motion within one year of

sentencing, to reduce a defendant’s sentence if he or she “provided substantial assistance

in investigating or prosecuting another person.” If the Government’s motion is made more

than one year after sentencing, which is the case here, the defendant’s substantial

assistance must involve the following type of information:

             (A) information not known to the defendant until one year or
             more after sentencing;

             (B) information provided by the defendant to the government
             within one year of sentencing, but which did not become useful
             to the government until more than one year after sentencing;
             or

             (C) information the usefulness of which could not reasonably
             have been anticipated by the defendant until more than one
             year after sentencing and which was promptly provided to the
             government after its usefulness was reasonably apparent to
             the defendant.

Fed. R. Crim. P. 35(b)(2)(A)–(C).




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       The Second Circuit has held that Rule 35 motions are akin to those brought under

§ 5K1.1 of the United States Sentencing Guidelines, and should therefore be construed

similarly. See United States v. Gangi, 45 F.3d 28, 31 (2d Cir. 1995) (“We are persuaded

that, due to similarity in language and function, § 5K1.1 should inform our construction of

Rule 35(b).”); see also United States v. Suarzo, No. 96 CR 450, 2000 WL 1558737, at *2

(S.D.N.Y. Oct. 18, 2000). Both motions are premised on a defendant’s substantial

assistance to the Government; the only practical difference is that Rule 35 rewards post-

sentencing assistance, while § 5K1.1 rewards assistance provided before sentencing. See

Gangi, 45 F.3d at 30. As such, the following factors are considered in evaluating a Rule

35 motion:

              (1) the court’s evaluation of the significance and usefulness of
              the defendant’s assistance, taking into consideration the
              government’s evaluation of the assistance rendered;

              (2) the truthfulness, completeness, and reliability of any
              information or testimony provided by the defendant;

              (3) the nature and extent of the defendant’s assistance;

              (4) any injury suffered, or any danger or risk of injury to the
              defendant or his family resulting from his assistance;

              (5) the timeliness of the defendant’s assistance.

U.S.S.G. § 5K1.1(a); see also Gangi, 45 F.3d at 31.




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B.     Bishop’s Substantial Assistance

       Bishop’s substantial assistance is detailed in the sealed submission filed by the

government. The submission fully describes Bishop’s cooperation and details the efforts

he has made to assist the Government. Bishop’s assistance has been entirely voluntarily

and the information he has provided has been candid and truthful. For these efforts, the

Government believes that a 2-level sentencing reduction is appropriate, and it further

requests that Bishop be sentenced at the low end of the range.

       This Court concurs in the Government’s assessment of Bishop’s assistance and

finds that he has provided significant, truthful information that has been useful in the

Government’s investigation and prosecution of others. Because the submission is sealed,

this Court will not recount it here. But based on this Court’s review, it finds that the 2-level

reduction and low-end sentence requested by the Government is warranted. Bishop’s

assistance has been helpful and entirely voluntary. Moreover, this Court specifically finds

that Bishop’s assistance was prompt and that the information he provided became useful

to the Government more than one year after he was sentenced, thereby rendering the

Government’s motion timely under Fed. R. Crim. P. 35(b)(2)(B).

                                     III. CONCLUSION

       For his voluntary cooperation and substantial assistance to the Government in the

investigation and prosecution of others, Bishop has earned a 2-level reduction in this

offense level. This reduces his sentencing range to 77-96 months, based on a total

offense level of 24 and a Criminal History Category of IV. Bishop’s sentence will be

reduced from 96 months to 77 months.



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                                      IV. ORDERS

         IT HEREBY IS ORDERED, that the Government’s Motion for Reduction of Sentence

(Docket No. 177) is GRANTED.

         FURTHER, that the Probation Office shall prepare an Amended Judgment of

Conviction reducing the term of imprisonment to 77 months. In all other respects the

sentence remains the same.

         FURTHER, that the Probation Office shall promptly submit the Amended Judgment

to this Court for review and signature.


Dated:         February 24, 2015
               Buffalo, New York

                                                         /s/William M. Skretny
                                                         WILLIAM M. SKRETNY
                                                                Chief Judge
                                                         United States District Judge




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